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                        UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF FLORIDA
                             PENSACOLA DIVISION

UNITED STATES OF AMERICA,

v.                                                                Case No. 3:08cr79/MCR

MARK DANIEL LEITNER,

     Defendant.
______________________________/
                        REPORT AND RECOMMENDATION
        This matter is before the court on defendant Mark Leitner’s “Petition for
Return of Property.” (Doc. 1810). Defendant requests the return of property seized
from him during a criminal investigation conducted by the Internal Revenue Service
in 2006. Defendant indicates the property was seized in Fairport, New York, which
is within the territorial jurisdiction of the U.S. District Court for the Western District
of New York. FEDERAL RULE OF CRIMINAL PROCEDURE 41 provides that “[a] person
aggrieved by an unlawful search and seizure of property or by the deprivation of
property may move for the property's return. The motion must be filed in the district
where the property was seized. The court must receive evidence on any factual issue
necessary to decide the motion. If it grants the motion, the court must return the
property to the movant, but may impose reasonable conditions to protect access to the
property and its use in later proceedings.” FED. R. CRIM. P. 41(g). Because defendant
Leitner’s property was seized in the Western District of New York pursuant to a
search warrant,1 he must file his motion for the return of property in the U.S. District

        1
         In re Search of 22 Blackwatch Trail, Apt. 8, Fairport, NY 14450, United States District
Court for the Western District of New York, Case No. 6:06mj573-JWF.
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Court for the Western District of New York. See United States v. Ebert, 39 F. App’x
889 (4th Cir. 2002) (unpublished) (holding Fed. R. Crim. P. 41(g)’s predecessor,
41(e), requires that a defendant seeking the return of property following the
conclusion of criminal proceedings must file motion in the district of seizure, not the
district of trial); accord United States v. Smith, 253 F. App’x 242, 243 (3d Cir. 2007)
(unpublished).
        Accordingly, it is respectfully RECOMMENDED:
        That defendant Leitner’s “Petition for Return of Property” (doc. 1810) be
DENIED WITHOUT PREJUDICE.
        At Pensacola, Florida this 10th day of February, 2015.



                                        /s/   Charles J. Kahn, Jr.
                                        CHARLES J. KAHN, JR.
                                        UNITED STATES MAGISTRATE JUDGE




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